
176 S.W.3d 921 (2005)
In the Interest of B.H. and E.H., Minor Children.
No. 08-05-00314-CV.
Court of Appeals of Texas, El Paso.
October 27, 2005.
Steve Hershberger, Midland, for Appellant.
Bart Edward Medley, Fort Davis, for Appellee.
Before BARAJAS, C.J., McCLURE, and CHEW, JJ.

OPINION
RICHARD BARAJAS, Chief Justice.
On September 23, 2005, this Court provided notice that it appeared from the record that the notice of appeal was not timely perfected and, therefore, this Court lacks jurisdiction over this appeal. It also gave notice, pursuant to TEX.R.APP. P. 42.3, of the Court's intent to dismiss for want of jurisdiction. The notice provided that Appellant must show grounds for continuing the appeal within ten days from the date of the notice. Not having received a response from Appellant, this Court, pursuant to Tex.R.App. P. 42.3, and on its own motion, hereby dismisses this appeal for lack of jurisdiction.
We therefore dismiss this appeal.
